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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 GUILLERMINA LOPEZ, on behalf
 of the Embry-Riddle Aeronautical
 University DC Retirement Plan,
 individually and as a representative
 of a class of participants and
 beneficiaries,

                                             CASE NO.:
            Plaintiff,

 vs.


 EMBRY-RIDDLE AERONAUTICAL
 UNIVERSITY, INC.,

            Defendant.


                         CLASS ACTION COMPLAINT

       On behalf of the Embry-Riddle Aeronautical University DC Retirement Plan

(“Plan”), Guillermina Lopez (“Plaintiff”) files this Class Action Complaint against

Defendant Embry Riddle Aeronautical University, Inc. (“University” or

“Defendant”), for breaching its fiduciary duties in violation of the Employee

Retirement Income Security Act, 29 U.S.C. §§1001–1461 ("ERISA”).

                              BRIEF OVERVIEW

       1.    The University offers a retirement plan to its employees under 26

U.S.C. § 403(b). Eligible faculty and staff members may elect to participate in the

Plan, which provides the primary source of retirement income for many former
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employees. The Named Plaintiff is a current Plan participant. The Plan has over

4,500 participants and nearly $500 million in assets.

      2.     Defined contribution retirement plans, like the Plan, confer tax

benefits on participating employees to incentivize saving for retirement. According

to the Investment Company Institute, Americans held $7.9 trillion in all employer-

based defined contribution retirement plans as of March 31, 2020, of which $5.6

trillion was held in 401(k) plans. See INVESTMENT COMPANY INSTITUTE,

Retirement Assets Total $28.7 Trillion in First Quarter 2020 (June 17, 2020).

      3.     In a defined contribution plan, “participants’ retirement benefits are

limited to the value of their own individual investment accounts, which is

determined by the market performance of employee and employer contributions,

less expenses.” Tibble v. Edison Int’l, 575 U.S. 523 (2015). Because all risks related

to high fees and poorly performing investments are borne by the participants, the

employer has little incentive to keep costs low or to closely monitor the Plan to

ensure every investment remains prudent.

      4.     To safeguard Plan participants and beneficiaries, ERISA imposes

strict fiduciary duties of loyalty and prudence upon employers and other plan

fiduciaries. 29 U.S.C. § 1104(a)(1). These twin fiduciary duties are “the highest

known to the law.” Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 333 (3d Cir.

2019). Fiduciaries must act “solely in the interest of the participants and

beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and




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diligence” that would be expected in managing a plan of similar scope. 29 U.S.C. §

1104(a)(1)(B).

      5.     Because retirement savings in defined contribution plans grow and

compound over the course of the employee participants’ careers, poor investment

performance and excessive fees can dramatically reduce the amount of benefits

available when the participant is ready to retire. Over time, even small differences

in fees and performance compound and can result in vast differences in the amount

of savings available at retirement. As the Supreme Court has explained,

“[e]xpenses, such as management or administrative fees, can sometimes

significantly reduce the value of an account in a defined-contribution plan.” Tibble

v. Edison Int’l, 135 S. Ct. 1823, 1825 (2015).

      6.     The impact of excessive fees on employees’ and retirees’ retirement

assets is dramatic. The U.S. Department of Labor has noted that a 1% higher level

of fees over a 35-year period makes a 28% difference in retirement assets at the

end of a participant’s career. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at 1–

2 (Aug. 2013).

      7.     As of December 31, 2020, the Plan had $491,424,400 in assets.

Accordingly, the Plan has substantial bargaining power regarding the fees and

expenses that are charged against participants’ investments. However, instead of

leveraging the Plan’s tremendous bargaining power to benefit participants and

beneficiaries, Defendant chose poorly performing investments, inappropriate,




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high-cost mutual fund share classes, and caused the Plan to pay unreasonable and

excessive fees for recordkeeping and other administrative services.

      8.     However, to the extent that Defendant made any attempt to reduce

the Plan’s expenses or to prudently monitor and review the Plan’s investment

options, Defendant employed flawed and ineffective processes, which failed to

ensure that: (a) the fees and expenses charged to Plan participants were

reasonable, and (b) that each investment option that was offered in the Plan was

prudent.

      9.     Defendant’s mismanagement of the Plan constitutes a breach of the

fiduciary duty of prudence in violation of 29 U.S.C. § 1104. Defendant’s actions

(and omissions) were contrary to actions of a reasonable fiduciary and cost the

Plan and its participants millions of dollars.

                         JURISDICTION AND VENUE

      10.    This Court has exclusive jurisdiction over the subject matter of this

action under 29 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action

under 29 U.S.C. §1132(a)(2) and (3).

      11.    This judicial District is the proper venue for this action under 29

U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the

Plan is administered, where at least one of the alleged breaches took place, and

where the Defendant resides.




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                    THE UNIVERSITY RETIREMENT PLAN

      12.      The Plan is a qualified retirement plan commonly referred to as a

403(b) plan.

      13.      The Plan is established and maintained under written documents in

accordance with 29 U.S.C. §1102(a)(1).

      14.      More specifically, the Plan is a “defined contribution” or “individual

account” plan within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34).

      15.      Eligible faculty and staff members of the University are eligible

participate in the Plan. The Plan provides the primary source of retirement income

for many University employees. The ultimate retirement benefit provided to

participants depends on the performance of investment options chosen for the

Plan by Defendant.

      16.      In theory, Defendant determines the appropriateness of the Plan’s

investment offerings, monitors investment performance, and reviews total plan

and fund costs each year.

                                   THE PARTIES

                               Plaintiff & Standing

      17.      Plaintiff Guillermina Lopez is a current participant in the Plan under

29 U.S.C. §1002(7) because he has an individual account in the Plan. He was

subject to the ERISA breaches of fiduciary duty described herein.

      18.      In terms of standing, §1132(a)(2) allows recovery only for a plan and

does not provide a remedy for individual injuries distinct from plan injuries. Here


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the Plan suffered millions of dollars in losses caused by Defendant’s fiduciary

breaches.

       19.   The Plan continues suffering economic losses, and those injuries may

be redressed by a judgment of this Court in favor of Plaintiff and the Plan. The Plan

is the victim of any fiduciary breach and the recipient of any recovery. Id. at 254.

       20.   Section 1132(a)(2) authorizes any participant to sue derivatively as a

representative of the plan to seek relief on behalf of the plan. 29 U.S.C. §1132(a)(2).

As explained in detail below, the Plan suffered millions of dollars in losses caused

by Defendant’s fiduciary breaches and it remains exposed to harm and continued

losses, and those injuries may be redressed by a judgment of this Court in favor of

Plaintiff.

       21.   To the extent the Plaintiff must also show an individual injury even

though §1132(a)(2) does not provide redress for individual injuries, Plaintiff has

standing to bring this action on behalf of the Plan because they participated in the

Plan and were injured by Defendant’s unlawful conduct.

       22.   To establish standing, the Plaintiff need only show a constitutionally

adequate injury flowing from those decisions or failures. The Plaintiff alleges such

an injury for each claim.

       23.   For example, the Plaintiff has standing because the challenged

conduct, including Defendant’s actions resulting in Plaintiff and the class members

paying excessive recordkeeping and administrative fees, affected all Plan

participants in the same way. Thus, the Plaintiff and each class representative


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suffered a concrete injury traceable to Defendant’s imprudent actions and

fiduciary breaches.

      24.   Additionally, the Plaintiff has standing as to Defendant’s imprudent

selection and retention of the TIAA and VALIC funds because the Plaintiff invested

in at least one of the TIAA and VALIC funds. Thus, once again, the Plaintiff and

each class representative suffered a concrete injury traceable to Defendant’s

imprudent actions and fiduciary breaches.

      25.   Moreover, the Plaintiff’s individual accounts in the Plan were harmed

because they invested in investment options that would have been removed from

the Plan had Defendant discharged its fiduciary duties. These investment options

underperformed numerous prudent alternatives that were available to the Plan,

resulting in a loss of retirement savings. Therefore, the Plaintiff and each class

representative suffered a concrete injury traceable to Defendant’s imprudent

actions and fiduciary breaches.

      26.   As a result of Defendant’s actions, the Plaintiff and class members are

entitled to restitution in the amount of the difference between the value of their

account currently, or as of the time their accounts were distributed, and what their

accounts are or would have been worth, but for Defendant’s breaches of fiduciary

duty as described herein.

                                      Defendant

      27.   Defendant is a private, for-profit, nonsectarian university with its

principal place of business in Daytona Beach, Florida.


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      28.   Defendant offers a retirement plan to eligible employees: a 403(b)

Plan which is a defined-contribution plan. In such plans, participating employees

maintain individual investment accounts, which are funded by pretax

contributions from the employees’ salaries and, where applicable, matching

contributions from the employer. Each participant chooses how to invest his or her

funds, subject to an important limitation: Participants may choose only from the

menu of options selected by Defendant.

      29.   The performance of chosen investments, as well as the deduction of

any associated fees, determines the amount of money the participant will have

saved for retirement.

      30.   Defendant is the Plan Administrator under 29 U.S.C. §1002(16)(A)(i),

and upon information and belief, with exclusive responsibility and complete

discretionary authority to control the operation, management and administration

of the Plan, with all powers necessary to enable it properly to carry out such

responsibilities, including the selection and compensation of the providers of

administrative services to the Plan and the selection, monitoring, and removal of

the investment options made available to participants for the investment of their

contributions and provision of their retirement income.

      31.   Defendant is a fiduciary to the Plan because it exercised discretionary

authority and discretionary control respecting the management of the Plan or

exercised authority or control respecting the management or disposition of Plan




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assets and has discretionary authority or discretionary responsibility in the

administration of the Plan. 29 U.S.C. §1002(21)(A)(i) and (iii).

              Exhaustion of Administrative Remedies is Complete

        32.    On July 19, 2022, Plaintiff sent an Administrative Exhaustion

Demand Letter to the Plan Administrator.             The Administrative Exhaustion

Demand Letter set forth Plaintiff’s claims and included a request for relief on her

own behalf, and on behalf of the entire putative class.

        33.    In response, by emailed letter dated August 18, 2022, Counsel for the

Defendant confirmed stated as follows: “please be advised that the Plan does not

provide a claim or appeal mechanism for the matters alleged in your July 19 letter,

including the threatened fiduciary breach claims.” Thus, Plaintiff has exhausted

her administrative remedies, those of the putative class members, and the Plan as

a whole.

                         CLASS ACTION ALLEGATIONS

        34.    Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P.

23 on behalf of themselves and the following proposed class (“Class”): 1

               All persons, except Defendant’s fiduciaries and their
               immediate family members, who were participants in or
               beneficiaries of the Plan, at any time between August
               2016 and the present (the “Class Period”).
        35.    The members of the Class are so numerous that joinder of all members

is impractical. According to the 2020 Form 5500 filed with the U.S. Department of


1Plaintiff reserves the right to propose other or additional classes or subclasses in her
forthcoming motion for class certification and/or in subsequent pleadings in this action.

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Labor, there were 4,772 Plan participants with account balances, as of December

31, 2020.

      36.   Plaintiff’s claims are typical of the claims of the members of the Class.

Like other Class members, Plaintiff participated in the Plan and has suffered

injuries because of Defendant’s mismanagement of the Plan. Defendant treated

Plaintiff consistently with other Class members and managed the Plan as a single

entity. Plaintiff’s claims and the claims of all Class members arise out of the same

conduct, policies, and practices of Defendant as alleged herein, and all members of

the Class have been similarly affected by Defendant’s wrongful conduct.

      37.   There are questions of law and fact common to the Class, and these

questions predominate over questions affecting only individual Class members.

Common legal and factual questions include, but are not limited to:

            A.     Whether Defendant is a fiduciary of the Plan;

            B.     Whether Defendant breached its fiduciary duty of prudence by
                   engaging in the conduct described herein;

            C.     Whether Defendant failed to adequately monitor other
                   fiduciaries to ensure the Plan was being managed in
                   compliance with ERISA;

            D.     The proper form of equitable and injunctive relief; and

            E.     The proper measure of relief.

      37.   Plaintiff will fairly and adequately represent the Class and has

retained counsel experienced and competent in the prosecution of ERISA class

action litigation. Plaintiff has no interests antagonistic to those of other members



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of the Class. Plaintiff is committed to the vigorous prosecution of this action and

anticipate no difficulty in the management of this litigation as a class action.

      38.     This action may be properly certified under Fed. R. Civ. P. 23(b)(1).

Class action status in this action is warranted under Fed. R. Civ. P. 23(b)(1)(A)

because prosecution of separate actions by the members of the Class would create

a risk of establishing incompatible standards of conduct for Defendant. Class

action status is also warranted under Fed. R. Civ. P. 23(b)(1)(B) because

prosecution of separate actions by the members of the Class would create a risk of

adjudications with respect to individual members of the Class that, as a practical

matter, would be dispositive of the interests of other members not parties to this

action, or that would substantially impair or impede their ability to protect their

interests.

      39.     In the alternative, certification under Fed. R. Civ. P. 23(b)(2) is

warranted because the Defendant has acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive, declaratory,

or other appropriate equitable relief with respect to the Class as a whole.

       DEFENDANT’S FIDUCIARY STATUS AND OVERVIEW OF

                              FIDUCIARY DUTIES

      40.     ERISA requires every covered retirement plan to provide for one or

more named fiduciaries who will have “authority to control and manage the

operation and administration of the plan.” ERISA § 402(a)(1), 29 U.S.C. §

1102(a)(1).


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      41.    ERISA treats as fiduciaries not only persons explicitly named as

fiduciaries under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons

who in fact perform fiduciary functions. Thus, a person is a fiduciary to the extent:

“(i) he exercises any discretionary authority or discretionary control respecting

management of such plan or exercise any authority or control respecting

management or disposition of its assets, (ii) he renders investment advice for a fee

or other compensation, direct or indirect, with respect to any moneys or other

property of such plan, or has any authority or responsibility to do so, or (iii) he has

any discretionary authority or discretionary responsibility in the administration of

such plan.” ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i).

      42.    As described above, Defendant was a fiduciary of the Plan because:

             A.      it was so named; and/or

             B.      it exercised authority or control respecting management
                     or disposition of the Plan’s assets; and/or

             C.      it exercised discretionary authority or discretionary
                     control respecting management of the Plan; and/or

             D.      it had discretionary authority or discretionary
                     responsibility in the administration of the Plan.

      43.    As a fiduciary, Defendant is/was required by ERISA § 404(a)(1), 29

U.S.C. § 1104(a)(1), to manage and administer the Plan, and the Plan’s

investments, solely in the interest of the Plan’s participants and beneficiaries and

with the care, skill, prudence, and diligence under the circumstances then

prevailing that a prudent person acting in a like capacity and familiar with such



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matters would use in the conduct of an enterprise of a like character and with like

aims. These twin duties are referred to as the duties of loyalty and prudence, and

they are “the highest known to the law.” Sweda, 923 F.3d at 333.

      44.    The duty of loyalty requires fiduciaries to act with an “eye single” to

the interests of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000)

(internal citations omitted). “Perhaps the most fundamental duty of a [fiduciary]

is that he [or she] must display…complete loyalty to the interests of the beneficiary

and must exclude all selfish interest and all consideration of the interests of third

persons.” Id. at 224 (quotation marks and citations omitted).

      45.    “Thus, in deciding whether and to what extent to invest in a particular

investment, a fiduciary must ordinarily consider only factors relating

to the interests of plan participants and beneficiaries in their

retirement income. A decision to make an investment may not be influenced by

non-economic factors unless the investment, when judged solely on the basis

of its economic value to the plan, would be equal or superior to alternative

investments available to the plan.” U.S. Dep’t of Labor ERISA Adv. Op. 88-16A,

1988 WL 222716, at *3 (Dec. 19, 1988). (Emphasis added).

      46.    In effect, the duty of loyalty includes a mandate that the fiduciary

display complete loyalty to the beneficiaries and set aside the consideration of third

persons. See In re WorldCom, Inc., 263 F. Supp. 2d 745, 758 (S.D.N.Y. 2003) (“An

ERISA fiduciary must ‘conduct a careful and impartial investigation’ of the merits




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and appropriate structure of a plan investment.”) (quoting Flanigan v. Gen. Elec.

Co., 242 F.3d 78, 86 (2d Cir. 2001)).

      47.    ERISA also “imposes a ‘prudent person’ standard by which to measure

fiduciaries’ investment decisions and disposition of assets.” Fifth Third Bancorp v.

Dudenhoeffer, 573 U.S. 409 (2014) (quotation omitted). In addition to a duty to

select prudent investments, under ERISA a fiduciary “has a continuing duty to

monitor [plan] investments and remove imprudent ones” that exist in a plan,

which is “separate and apart from the [fiduciary’s] duty to exercise prudence in

selecting investments.” Tibble, 575 U.S. 523. “[A] fiduciary cannot free himself

from his duty to act as a prudent man simply by arguing that other funds...could

theoretically, in combination, create a prudent portfolio.” In re Am. Int'l Grp., Inc.

ERISA Litig. II, No. 08 CIV. 5722 LTS KNF, 2011 WL 1226459, at *4 (S.D.N.Y.

Mar. 31, 2011) (quoting DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 418 n.3, 423–

24 (4th Cir. 2007)).

      48.    In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability

for breach by co-fiduciary”) provides:

      [I]n addition to any liability which he may have under any other
      provision of this part, a fiduciary with respect to a plan shall be liable
      for a breach of fiduciary responsibility of another fiduciary with
      respect to the same plan in the following circumstances: (A) if he
      participates knowingly in, or knowingly undertakes to conceal, an act
      or omission of such other fiduciary, knowing such an act or omission
      is a breach; (B) if, by his failure to comply with section 404(a)(1), 29
      U.S.C. §1104(a)(1), in the administration of his specific
      responsibilities which give rise to his status as a fiduciary, he has
      enabled such other fiduciary to commit a breach; or (C) if he has



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      knowledge of a breach by such other fiduciary, unless he makes
      reasonable efforts under the circumstances to remedy the breach.

      49.    During the Class Period, Defendant did not act prudently or in the best

interests of the Plan’s participants. Investment options chosen for a plan should

not favor the fund provider over the plan’s participants. Yet, here, to the detriment

of the Plan and their participants and beneficiaries, the Plan’s fiduciaries included

and retained in the Plan many investment options that were more expensive than

necessary and otherwise were not justified on the basis of their economic value to

the Plan.

      50.    Based on reasonable inferences from the facts set forth in this

Complaint, during the Class Period Defendant failed to have a proper system of

review in place to ensure that participants in the Plan were being charged

appropriate and reasonable fees for each of the Plan’s investment options.

Additionally, Defendant failed to leverage the size of the Plan to negotiate the

lowest expense ratio available for certain investment options maintained and/or

added to the Plan during the Class Period. Defendant also caused the Plan and its

participants to pay excessive administration fees and excessive compensation to

service providers.

      51.    As set forth in detail below, Defendant breached fiduciary duties to

the Plan and its participants and beneficiaries and is therefore liable for its

breaches and the breaches of its co- fiduciaries under 29 U.S.C. §§ 1104(a)(1) and

1105(a).




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                            SPECIFIC ALLEGATIONS

    Improper Management of the Plan Cost the Plan’s Participants

                                Millions in Savings

      52.    Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified

investment options for a defined-contribution plan while also giving substantial

consideration to the cost of those options. “Wasting beneficiaries’ money is

imprudent. In devising and implementing strategies for the investment and

management of trust assets, trustees are obligated to minimize costs.” Uniform

Prudent Investor Act (the “UPIA”) § 7.

      53.     “The Restatement … instructs that ‘cost-conscious management is

fundamental to prudence in the investment function,’ and should be applied ‘not

only in making investments but also in monitoring and reviewing investments.’”

Tibble v. Edison Int'l, 843 F.3d 1187, 1197–98 (9th Cir. 2016) (quoting

Restatement (Third) of Trust § 90, cmt. b). See also U.S. Dep’t of Labor, A Look at

401(k) Plan Fees, at 2 (Aug. 2013) (“You should be aware that your employer also

has a speciﬁc obligation to consider the fees and expenses paid by your plan ...

Employers are held to a high standard of care and diligence and must discharge

their duties solely in the interest of the plan participants and their beneﬁciaries.”). 2

      54.    Higher fees of only 0.18% to 0.4% can have a large effect on a

participant’s investment results over time because “[b]eneficiaries subject to


2    Available    at:    https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-
activities/resource-center/publications/a-look-at-401k-plan-fees.pdf (last visited June
14, 2022).

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higher fees for materially identical funds lose not only the money spent on higher

fees, but also ‘lost investment opportunity’; that is, the money that the portion of

their investment spent on unnecessary fees would have earned over time.” Tibble,

843 F.3d at 1198.

      55.    Most participants in retirement plans, including both 401(k) and

403(b) plans, expect that accounts will be their principal source of income after

retirement. “The 401(k) is the major source people think they are going to rely on.” 3

Although at all times 401(k) and 403(b) plans accounts are fully funded, that does

not prevent plan participants from losing money on poor investment choices of

plan sponsors and fiduciaries, whether due to poor performance, high fees, or both.

      56.    Indeed, the Department of Labor has stated that employers are held

to a “high standard of care and diligence” and must both “establish a prudent

process for selecting investment options and service providers” and “monitor

investment options and service providers once selected to see that they continue

to be appropriate choices,” among other duties. See “A Look at 401(k) Plan Fees,”

supra.

      57.    The duty to evaluate and monitor fees and investment costs includes

fees paid directly by plan participants to investment providers, usually in the form

of an expense ratio or a percentage of assets under management within a particular



3Brandon, Emily, “10 Essential Sources of Retirement Income,” (May 6, 2011), available
at: https://money.usnews.com/money/retirement/slideshows/10-essential-sources-
of-retirement-income (last visited June 14, 2022).



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investment. See Investment Company Institute (“ICI”), The Economics of

Providing 401(k) Plans: Services, Fees, and Expenses, at 4 (July 2016). 4 “Any

costs not paid by the employer, which may include administrative, investment,

legal, and compliance costs, effectively are paid by plan participants.” Id. at 5.

      58.    The fiduciary task of evaluating investments and investigating

comparable alternatives in the marketplace is made much simpler by the advent of

independent research from services like Morningstar, which categorizes funds to

“help investors and investment professionals make meaningful comparisons

between funds. The categories make it easier to build well-diversified portfolios,

assess potential risk, and identify top-performing funds. [Morningstar] place

funds in a given category based on their portfolio statistics and compositions over

the past three years.” 5

      59.    Thus, prudent and impartial plan fiduciaries should continuously

monitor both the performance and cost of the investments selected for their 403(b)

plans, as well as investigating alternatives in the marketplace to ensure that well-

performing, low-cost investment options are being made available to plan

participants.




4 Available at: https://www.ici.org/pdf/per22-04.pdf (last visited August 31, 2022).
5  Available at http://www.morningstar.com/InvGlossary/morningstar_category.aspx
(last visited August 31, 2022).

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    Defendant Breached Its Fiduciary Duties by Selecting More
  Expensive Share Classes Instead of Low-Cost Share Classes of the
                            Same Funds

      60.    The Supreme Court reaffirmed the ongoing fiduciary duty to monitor

a plan’s investment options in Tibble, 575 U.S. 523. In Tibble, the Court held that

“an ERISA fiduciary’s duty is derived from the common law of trusts,” and that

“[u]nder trust law, a trustee has a continuing duty to monitor trust investments

and remove imprudent ones.” Id. at 1828. In so holding, the Supreme Court

referenced with approval the Uniform Prudent Investor Act (“UPIA”), treatises,

and seminal decisions confirming the duty.

      61.    The UPIA, which enshrines trust law, recognizes that “the duty of

prudent investing applies both to investing and managing trust assets....” Tibble,

575 U.S. 523 (quoting Nat’l Conference of Comm’rs on Uniform State Laws,

Uniform Prudent Investor Act § 2(c) (1994)). The official comment explains that

“‘[m]anaging embraces monitoring, that is, the trustee’s continuing responsibility

for oversight of the suitability of investments already made as well as the trustee’s

decisions respecting new investments.” Id. § 2 comment.

      62.    Under trust law, one of the responsibilities of the Plan’s fiduciaries is

to “avoid unwarranted costs” by being aware of the “availability and continuing

emergence” of alternative investments that may have “significantly different

costs.” Restatement (Third) of Trusts ch. 17, intro. note (2007); see also

Restatement (Third) of Trusts § 90 cmt. B (2007) (“Cost-conscious management

is fundamental to prudence in the investment function.”). Adherence to these


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duties requires regular performance of an “adequate investigation” of existing

investments in a plan to determine whether any of the plan’s investments are

“improvident,” or if there is a “superior alternative investment” to any of the plan’s

holdings. Pension Ben. Guar. Corp. ex rel. St. Vincent Catholic Med. Centers Ret.

Plan v. Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 718–19 (2d Cir. 2013).

      63.    As demonstrated by the chart below, in several instances during the

Class Period, Defendant failed to prudently monitor the Plan to determine whether

the Plan was invested in the lowest-cost share class available for the Plan’s mutual

funds, which are identical to the mutual funds in the Plan in every way except for

their lower cost.

      64.    In fact, the chart below contains a non-exhaustive illustration of

expensive share classes offered by the Plan during the Class Period and the

available lower-cost share classes for the same fund:

 Fund in Plan          Expense Ratio          Lower Cost          Net Expense
                                              Share Class of      Ratio
                                              Same Fund
 MFS International           1.04%                 MFS                   .91%
  New Discovery                                International
    Fund R4                                    New Discovery
     MIDJX                                       Fund R6
                                                  MIDLX
 T. Rowe Price Blue           .68%              T. Rowe Price            .56%
 Chip Growth Fund                             Blue Chip Growth
       Retail                                       Fund I
      TBCRX                                         TBCIX
   JPMorgan Mid               .93%             JPMorgan Mid              .70%
  Cap Growth Fund                              Cap Growth R6
   Select HLGEX                                   JMGMX


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 Fund in Plan         Expense Ratio        Lower Cost           Net Expense
                                           Share Class of       Ratio
                                           Same Fund
   MFS Mid Cap             .77%             MFS Mid Cap              .64%
   Value Fund R4                            Value Fund R6
      MVCJX                                    MVCKX
  Victory RS Small        1.130%           Victory RS Small         1.04%
   Cap Growth Y                            Cap Growth R6
       RSYEX                                    RSEJX


    CREF Bond              .28%              CREF Bond               .22%
    Market Share                             Market Share
     Class R2                                 Class R2
     QCBMPX                                   QCBMIX
    CREF Equity            .22%              CREF Equity             .16%
  Index Share Class                        Index Share Class
         R2                                       R3
      QCEQPX                                   QCEQIX
    CREFGlobal             .28%              CREFGlobal              .22%
      Equities                                 Equities
   Share Class R2                           Share Class R3
     QCGLPX                                   QCGLIX
   CREF Inflation-         .23%             CREF Inflation-          .17%
    Linked Bond                              Linked Bond
   Share Class R2                           Share Class R3
      QCILPX                                   QCILIX
    CREF Money             .24%              CREF Money              .18%
    Market Share                               Market
      Class R2                              Share Class R3
     QCMMPX                                   QCMMIX
    CREF Stock             .29%              CREF Stock              .23%
   Share Class R2                           Share Class R3
     QCSTPX                                    QCSTIX
   CREF Social             .25%              CREF Social             .19%
 Choice Share Class                        Choice Share Class
         R2                                        R3
     QCSCPX                                    QCSICIX



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      66.    As the table above illustrates, throughout the Class Period Defendant

should have known of the existence and availability of lower-cost share classes, and

it should have promptly transferred the Plan’s investments in such funds to the

least expensive share classes, however, Defendant failed to do so in a prudent

manner.

      67.    What is especially troubling here is TIAA is the recordkeeper for the

Plan. Many of the funds with expensive share classes offered by the plan are funds

issued by TIAA. Defendant allowed TIAA to freight the Plan with unreasonably

expensive and poorly performing TIAA funds.

      68.    Qualifying for lower share classes sometimes requires a minimum

investment in individual funds. However, these minimums are waived for

retirement plans like the Plan here. In any event, in most instances the Plan

qualified for the lower cost share classes but is paying for higher cost share classes.

Plan assets are being needlessly wasted and retirement savings frittered away. This

is a classic breach of ERISA’s fiduciary duty of prudence.

      69.    A prudent fiduciary conducting an impartial review of the Plan’s

investments would have identified the cheaper share classes available and

transferred the Plan’s investments in the above-referenced funds into institutional

shares at the earliest opportunity. Yet, despite the availability of lower-cost shares,

Defendant did not transfer Plan holdings in any of these funds from higher-priced

share classes into the lowest-cost institutional share classes, in breach of their

fiduciary duties.


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      70.   There is no good-faith explanation for utilizing a high-cost share class

when a lower-cost share class is available for the exact same investment. The Plan

did not receive any additional services or benefits based on its selection of more

expensive share classes; the only consequence was higher costs for Plan

participants.

       Defendant Breached Its Fiduciary Duties by Failing to
     Investigate and Select Comparable Lower Cost Investments

      71.   Throughout the Class Period, the Plan’s investment options have been

dominated by high-cost, actively-managed funds, despite the fact that these funds

charged grossly excessive fees compared with alternative funds that used the same

investment style, and despite ample evidence available to a reasonable fiduciary

that such funds had become imprudent due to their high costs.

      72.   During the Class Period, the Plan and its participants lost millions of

dollars by offering investment options that had similar, if not identical,

characteristics to other lower-priced investment options.

      73.   Importantly, all of the funds offered through the Plan are issued by

the parties recordkeeper, TIAA. TIAA receives compensation from investments

made by Plan participants through the Plan. Defendant allowed TIAA to freight the

Plan’s entire investment menu with investments that generate excessive fees for

TIAA at the direct expense of Plan participants.

      74.   Prudent fiduciaries of plans must regularly analyze the Plan’s

investment options to determine whether its actively managed funds will

outperform their benchmark, net of fees. Prudent fiduciaries then make a reasoned

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decision as to whether it would be in the participants’ best interest to continue to

offer that particular actively managed option for the particular investment style

and asset class.

      75.    Defendant failed to undertake such an analysis when it selected and

retained funds for the Plan. That is plainly evident given the duplication of funds

offered through the Plan. This is also apparent given the myriad of actively

managed funds offered through the Plan. Defendant provided these fund options

without conducting a prudent analysis despite the acceptance within the

investment industry that active managers typically do not outperform passive

managers net of fees over the long-term.

      76.    Defendant’s   failure   to   remove   consistently   underperforming

investments demonstrates the absence of a prudent process to evaluate the Plan’s

investment offerings. Had Defendant adopted prudent processes in order to

discharge its fiduciary duties, funds would have been placed on watchlists and

tracked on a regular basis to determine if the reason for their poor performance

had persisted - in which case the funds should have been removed - or whether the

underperformance was merely the result of a transient market trend or some other

factor that would correct itself within a reasonable period of time.

                Defendant Failed to Monitor or Control the
            Plan’s Recordkeeping and Administrative Expenses

      77.    The term "recordkeeping" is a catchall term for the suite of

administrative services typically provided to a defined contribution plan by the



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plan's "recordkeeper." Beyond simple provision of account statements to

participants, it is quite common for the recordkeeper to provide a broad range of

services to a defined contribution plan as part of its package of services. These

services can include claims processing, trustee services, participant education,

managed account services, participant loan processing, Qualified Domestic

Relations Order (“QDRO”) processing, preparation of disclosures, self-directed

brokerage accounts, investment consulting, and general consulting services.

         78.   Nearly all recordkeepers in the marketplace offer this range of

services, and defined contribution plans have the ability to customize the package

of services they receive and have the services priced accordingly. Many of these

services can be provided by recordkeepers at very little cost. In fact, several of these

services, such as managed account services, self-directed brokerage, QDRO

processing, and loan processing are often a profit center for recordkeepers.

         79.   The market for recordkeeping is highly competitive, with many

vendors equally capable of providing a high-level service. As a result of such

competition, vendors vigorously compete for business by offering the best price.

         80.   The cost of providing recordkeeping services depends on the number

of participants in a plan. Plans with large numbers of participants can take

advantage of economies of scale by negotiating a lower per-participant

recordkeeping fee. Because recordkeeping expenses are driven by the number of

participants in a plan, the vast majority of plans are charged on a per-participant

basis.


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      81.    Recordkeeping expenses can either be paid directly from plan assets,

or indirectly by the plan’s investments in a practice known as revenue sharing (or

a combination of both). Revenue sharing payments are derived from investments

within the plan, typically mutual funds, to the plan’s recordkeeper or to the plan

directly, to compensate for recordkeeping and trustee services that the mutual

fund company otherwise would have to provide.

      82.    Utilizing a revenue sharing approach is not per se imprudent. Plaintiff

is not making a claim against Defendant for using revenue sharing to pay

recordkeeping fees.

      83.    However, when revenue sharing is left unchecked, it can be

devastating for Plan participants. “At worst, revenue sharing is a way to hide fees.

Nobody sees the money change hands, and very few understand what the total

investment expense pays for. It is a way to milk large sums of money out of large

plans by charging a percentage-based fee that never goes down (when plans are

ignored or taken advantage of). In some cases, employers and employees believe

the plan is ‘free’ when it is in fact expensive.” Justin Pritchard, “Revenue Sharing

and Invisible Fees.” 6

      84.    Because revenue sharing payments are asset based, they bear no

relation to a reasonable recordkeeping fee and can provide excessive

compensation. Again, it is important to emphasize that fees obtained through



6  Available at: http://www.cccandc.com/p/revenue-sharing-and-invisible-fees (last
visited June 14, 2022).

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revenue sharing are tethered not to any actual services provided to the Plan; but

rather, to a percentage of assets in the Plan and/or investments in mutual funds in

the Plan. As the assets in the Plan increase, so too increases the recordkeeping fees

that Capital Research pockets from the Plan and its participants. One commentator

likened this fee arrangement to hiring a plumber to fix a leaky gasket but paying

the plumber not on actual work provided but based on the amount of water that

flows through the pipe. If asset-based fees are not monitored, the fees skyrocket as

more money flows into the Plan.

      85.     It is well-established that plan fiduciaries have an obligation to

monitor and control recordkeeping fees in order to ensure that such fees remain

reasonable. See, e.g., Tussey v. ABB, Inc., 746 F.3d 327, 336 (8th Cir. 2014)

(“Tussey II”) (holding that fiduciaries of a 401(k) plan “breach[] their fiduciary

duties” when they “fail[] to monitor and control recordkeeping fees” incurred by

the plan). Excessive expenses “decrease [an account’s] immediate value” and

“depriv[es] the participant of the prospective value of funds that would have

continued to grow if not taken out in fees.” Sweda, 923 F.3d at 328. No matter the

method of payment or fee collection, the fiduciary must understand the total

amount paid the recordkeeper and per-participant fees and determine whether

pricing is competitive. See Tussey II, 746 F.3d at 336. Thus, defined contribution

plan fiduciaries have an ongoing duty to ensure that the recordkeeper’s fees are

reasonable.




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      86.    Prudent fiduciaries implement three related processes to prudently

manage and control a plan’s recordkeeping costs. First, they must closely monitor

the recordkeeping fees being paid by the plan. A prudent fiduciary tracks the

recordkeeper’s expenses by demanding documents that summarize and

contextualize the recordkeeper’s compensation, such as fee transparencies, fee

analyses, fee summaries, relationship pricing analyses, cost-competitiveness

analyses, and multi-practice and stand-alone pricing reports.

      87.    Second, in order to make an informed evaluation as to whether a

recordkeeper or other service provider is receiving no more than a reasonable fee

for the services provided to a plan, a prudent fiduciary must identify all fees,

including direct compensation and so-called “indirect” compensation through

revenue sharing being paid to the plan’s recordkeeper. To the extent that a plan’s

investments pay asset-based revenue sharing to the recordkeeper, prudent

fiduciaries closely monitor the amount of the payments to ensure that the

recordkeeper’s total compensation from all sources does not exceed reasonable

levels and require that any revenue sharing payments that exceed a reasonable

level be returned to the plan and its participants.

      88.    Third, the plan's fiduciaries must remain informed about overall

trends in the marketplace regarding the fees being paid by other plans, as well as

the recordkeeping rates that are available. This will generally include conducting a

Request for Proposal ("RFP") process at reasonable intervals, and immediately if

the plan’s recordkeeping expenses have grown significantly or appear high in


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relation to the general marketplace. More specifically, an RFP should happen at

least every three to five years as a matter of course, and more frequently if the plans

experience an increase in recordkeeping costs or fee benchmarking reveals the

recordkeeper's compensation to exceed levels found in other, similar plans. George

v. Kraft Foods Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant

Health, Inc., 131 F. Supp. 3d 470, 479 (M.D.N.C. 2015).

      89.    Defendant has failed to prudently manage and control the Plan’s

recordkeeping costs by failing to undertake any of the aforementioned steps. TIAA

has been the Plan’s recordkeepers during the entire Class Period.

      90.    If Defendant had undertaken an RFP since 2016 in order to compare

TIAA’s costs with those of others in the marketplace, Defendant would have

recognized that TIAA’s compensation for recordkeeping services during the Class

Period has been unreasonable.           From 2015 to 2020 the direct annual

recordkeeping per participant compensation that TIAA and VALIC received from

Plan participants were as follows:

                               Year                Direct
                                               Recordkeeping
                                               Compensation
                                2015                $62.46

                                2016                $66.14

                                2017                $76.40




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                               Year              Direct
                                             Recordkeeping
                                             Compensation
                               2018                81.48

                               2019               $76.44

                               2020               $78.52



      94.    By comparison to other plans, the recordkeeping fees are excessive

and unreasonably high. For instance, the 401k Averages Book (20th ed. 2020),

examined recordkeeping fees for plans with less $200 million in assets (i.e.,

substantially smaller than the Plan), and demonstrated that as plans increase in

size the costs of recordkeeping generally decrease on a per participant basis—a

classic example of economies of scale. But here the opposite is happening. As Plan

assets increase so are recordkeeping fees.

      95.    A plan with 200 participants and $20 million in assets, the average

recordkeeping and administration cost (through direct compensation) is $12 per

participant. 401k Averages Book at 95. A plan with 2,000 participants and $200

million in assets, the average recordkeeping and administration cost (through

direct compensation) is $5 per participant. Id. at 108. Defendant caused Plan

participants to pay excessive fees.

      96.    Looking at recordkeeping costs for other plans of a similar size shows

that the Plan was paying higher recordkeeping fees than its peers – an indication

the Plan’s fiduciaries failed to appreciate the prevailing circumstances surrounding

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recordkeeping and administration fees.          The chart below analyzes a few well-

managed plans having tens of thousands of participants with billions of dollars in

assets under management:

     Name of        Number    Value            Total        Recordkee         Record
      Plan             of       of          Reported          ping and        Keeper
                   Participan Plan          Recordkee       Administra
                       ts     Assets         ping and        tive Costs
                                           Administra           Per-
                                           tive Service     Participant
                                               Costs               7

      The Dow        37,868      $10,91      $932,742             $25          Fidelity
      Chemical                   3,979,3
      Company                      02
     Employees’
    Savings Plan
    The Savings      35,927      $3,346       $977,116            $27         Vanguard
          and                    ,932,0
     Investment                    05
     Plan [WPP
       Group]
        Kaiser       46,943     $3,793,     $1,526,401            $33          Fidelity
    Permanente                  834,09
    Supplement                     1
      al Savings
          and
     Retirement
         Plan
    The Rite Aid     31,330      $2,668      $930,019             $30           Alight
    401(k) Plan                  ,142,11
                                    1




7R&A costs in the chart are derived from Schedule C of the Form 5500s and reflect fees
paid to service providers with a service code of “15” and/or “64,” which signifies
recordkeeping fees. See Instructions for Form 5500 (2019) at pg. 27 (defining each service
code), available at https://www .dol.gov/sites/dolgov/files/EBSA/employers-and-
advisers/plan-administration-and-compliance/ reporting-and-filing/form-5500/2019-
instructions.pdf.

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      97.   Defendant’s Plan is much smaller. Thus, it should have been cheaper

to manage. With over just over 4,500 participants and less than $500 million in

assets in 2020, Defendant should have been able to negotiate a recordkeeping cost

anywhere from $25 per participant to $30 from the beginning of the Class Period

to the present. However, Defendant simply failed to do so.

      98.   As such, Defendant either engaged in little to no examination,

comparison, or benchmarking of the recordkeeping/administrative fees of the Plan

to those of other similarly sized defined contribution plans, or it was complicit in

paying grossly excessive fees. Had Defendant conducted any examination,

comparison, or benchmarking, Defendant would have known that the Plan was

compensating TIAA at an inappropriate level for its size. Plan participants bear

this excessive fee burden and, accordingly, achieve considerably lower retirement

savings, since the extra fees, particularly when compounded, have a damaging

impact upon the returns attained by participant retirement savings.

      99.   By failing to recognize that the Plan and its participants were being

charged much higher fees than they should have been and/or failing to take

effective remedial actions, Defendant breached its fiduciary duties to the Plan.

      100. Moreover, TIAA did not receive only the direct compensation set forth

above—it received far more compensation for recordkeeping and other

administrative services through revenue sharing payments. Such revenue sharing

payments are particularly problematic because they are asset-based, and they

usually bear no relation to a reasonable recordkeeping fee. Rather, in large plans,


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like this one, revenue sharing often results in excessive compensation, especially

like here, when high-priced funds are included as plan investment options.

      101.   The Plan’s total expenses for recordkeeping reveals the true extent of

Defendant’s fiduciary breaches. The total amount of recordkeeping fees (both

through direct and indirect payments) currently is at least $160 per participant

annually, when a reasonable fee ought to be no more than $25 per participant

annually.

      102. As one industry expert has noted: “If you don’t establish tight control,

the growth of your plan’s assets over time may lead to higher than reasonable

amounts getting paid to service providers. This is because most revenue sharing is

asset-based. If a recordkeeper’s workload is about the same this year as last, why

should they get more compensation just because the market had a big year and

inflated the asset base? In a large plan, this phenomenon can lead to six figure

comp bloat over time. That’s bad for plan participants and bad for fiduciaries.” Jim

Phillips, (b)est Practices: What Do You Know About Revenue Sharing?,

PLANSPONSOR.com (June 6, 2014).

      103. Another problem is that “revenue sharing is not equivalent among all

funds; some funds pay no revenue sharing and others pay different revenue-

sharing rates. The issue then arises that it may not be fair for some participants to

pay a higher expense ratio because revenue sharing is built in. Another concern is

that plan participants who invest in more expensive, revenue-sharing funds are

bearing a disproportionate amount of the plan’s administrative costs compared


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with their coworkers who have chosen funds without revenue sharing.” Jennifer

DeLong, Coming to Grips with Excess Revenue Sharing, Context, The

AllianceBernstein Blog on Investing (June 2014). 8 Thus, prior to the Class Period,

AllianceBernstein noted, “the prevalence of revenue sharing is decreasing as more

plans rethink their strategies for making plan fees more transparent.” Id.

      104. As recognized prior to the Class Period, the best practice is a flat price

based on the number of participants in a plan, which ensures that the amount of

compensation will be tied to the actual services provided and that the

recordkeeping fees will not fluctuate or change based upon, e.g., an increase in

assets in the plan. Indeed, in May 2014, AllianceBernstein advised: “DC plans and

their fiduciaries may be better served to modify or change the plan design a bit,

and it might be wise to consider removing excess revenue sharing from the picture

altogether. One route to that solution would be to consider share classes or

investment vehicles with lower—or no—revenue-sharing rates.” Daniel Noto,

Rethinking Revenue Sharing, AllianceBernstein (May 2014). 9

      105. As noted above, some plans pay recordkeepers fees in addition to

direct compensation in the form of revenue sharing. Here, the Plan paid TIAA a

fortune in direct and indirect compensation for recordkeeping services throughout

the Class Period.


8  Available at: https://blog.alliancebernstein.com/post/en/2014/06/coming-to-grips-
with-excess-revenue-sharing (last visited August 31, 2022).
9   Available at: https://www.alliancebernstein.com/Research-Publications/CMA-
created-content/Institutional/Instrumentation/DC_RethinkingRevenueSharing.pdf
(last visited August 31, 2022).

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      106. The recordkeeping fees are far greater than recognized reasonable

rates for a plan with nearly $500 million in assets. Given the growth and size of the

Plan’s assets during the Class Period, in addition to the general trend towards

lower recordkeeping expenses in the marketplace as a whole, the Plan could have

obtained recordkeeping services that were comparable to superior to the typical

services that would have been provided to the Plan by TIAA. TIAA performs tasks

for the Plan such as validating payroll data, tracking employee eligibility and

contributions, verifying participant status, recordkeeping and information

management (computing, tabulating, data processing, etc.)

      107. The services that TIAA provided were nothing out of the ordinary, and

a prudent fiduciary would have observed the excessive fees being paid to the

recordkeepers and taken corrective action. Defendant’s failure to monitor and

control recordkeeping compensation cost the Plan millions of dollars during the

Class Period and constituted a breach of the duty of prudence.

      108. Finally, as stated above, the Plan has nearly than $500 million of

assets. This is Plan participant money. Upon information and belief, Defendant

agreed that anytime Plan participants deposit or withdraw money from their

individual accounts, that the money will first pass through a TIAA clearing account.

       109. Upon information and belief, Defendant agreed TIAA could keep all

of the interest earned on Plan participant accounts while participant money is in

TIAA’s clearing account. This is a form of indirect compensation that TIAA receives

as the recordkeeper for the Plan. However, TIAA has not tracked, monitored, or


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negotiated the amount of compensation TIAA receives from income it earns on

Participant money. Defendants breached its fiduciary duty of prudence by allowing

TIAA to receive compensation from Plan participants without even knowing the

amount of compensation TIAA collects from interest on participant money.

                       FIRST CLAIM FOR RELIEF
                 Breaches of Fiduciary Duties of Prudence

      110.   Plaintiff re-alleges and incorporates herein by reference all prior

allegations in this Complaint as if fully set forth herein.

      111.   As a fiduciary of the Plan, Defendant was subject to the fiduciary

duties imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties

included managing the Plan’s fees and assets for the sole and exclusive benefit of

Plan participants and beneficiaries, and acting with the care, skill, diligence, and

prudence under the circumstances that a prudent person acting in a like capacity

and familiar with such matters would use in the conduct of an enterprise of like

character and with like aims.

      112.   Defendant breached these fiduciary duties in multiple respects as

discussed throughout this Complaint. Defendant did not make decisions regarding

the Plan’s investment lineup based solely on the merits of each investment and

what was in the interest of Plan participants and consistent with the ISP. Instead,

Defendant selected and retained investment options in the Plan despite the high

cost of the funds in relation to other comparable investments. Defendant also

failed to investigate the availability of lower-cost share classes of certain mutual




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funds in the Plan. In addition, Defendant failed to monitor or control the grossly

excessive compensation paid for recordkeeping services.

      113.   As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan suffered millions of dollars of losses due to excessive costs

and lower net investment returns. Had Defendant complied with its fiduciary

obligations, the Plan would not have suffered these losses, and Plan participants

would have had more money available to them for their retirement.

      114.   Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendant is liable to

restore to the Plan all losses caused by their breaches of fiduciary duties, and also

must restore any profits resulting from such breaches. In addition, Plaintiff is

entitled to equitable relief and other appropriate relief for Defendant’s breaches as

set forth in their Prayer for Relief.

                       SECOND CLAIM FOR RELIEF
        Failure to Adequately Monitor Other Fiduciaries and Service
                              Providers

      115.   Plaintiff re-alleges and incorporates herein by reference all prior

allegations in this Complaint as if fully set forth herein.

      116.   Defendant is the named fiduciary with the overall responsibility for

the control, management and administration of the Plan, in accordance with 29

U.S.C. §1102(a). Defendant is the Plan Administrator of the Plan under 29 U.S.C.

§1002(16)(A)(i) with exclusive responsibility and complete discretionary authority

to control the operation, management and administration of the Plan, with all

powers necessary to enable it to properly carry out such responsibilities, including


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the selection and compensation of the providers of administrative services to the

Plan and the selection, monitoring, and removal of the investment options made

available to participants for the investment of their contributions and provision of

their retirement income.

      117.   Given that Defendant had the overall responsibility for the oversight

of the Plan, Defendant had a fiduciary responsibility to monitor the performance

of the other fiduciaries and service providers, including those delegated fiduciary

responsibility to administer and manage Plan assets.

      118.   A monitoring fiduciary must ensure that its monitored fiduciaries and

service providers are performing their obligations, including those with respect to

the investment and holding of plan assets, and must take prompt and effective

action to protect the plan and participants when they are not.

     119.    Defendant breached its fiduciary monitoring duties by, among other

       things:

      a.     Failing to monitor its appointees, to evaluate their
             performance, or to have a system in place for doing so, and
             standing idly by as the Plan suffered losses as a result of its
             appointees’ imprudent actions and omissions with respect to
             the Plan;

      b.     Failing to monitor its appointees’ fiduciary process, which
             would have alerted any prudent fiduciary to the potential
             breach because of the excessive administrative and investment
             management fees and consistent underperformance of Plan
             investments in violation of ERISA;

      c.     Failing to ensure that the monitored fiduciaries and service
             providers had a prudent process in place for evaluating the
             Plan’s administrative fees and ensuring that the fees were


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             competitive, including a process to identify and determine the
             amount of all sources of compensation to the Plan’s
             recordkeepers and the amount of any revenue sharing
             payments; a process to prevent the recordkeepers from
             receiving revenue sharing that would increase the
             recordkeepers’ compensation to unreasonable levels even
             though the services provided remained the same; and a process
             to periodically obtain competitive bids to determine the market
             rate for the services provided to the Plan;
      d.     Failing to ensure that the monitored fiduciaries and service
             providers considered the ready availability of comparable and
             better performing investment options that charged significantly
             lower fees and expenses than the Plan’s mutual fund and
             insurance company variable annuity options; and

      e.     Failing to remove appointees whose performance was
             inadequate in that they continued to maintain imprudent,
             excessive cost, and poorly performing investments, all to the
             detriment of Plan participants’ retirement savings.

      115.   Had Defendant discharged its fiduciary monitoring duties prudently

as described above, the losses suffered by the Plan would have been minimized or

avoided. Therefore, as a direct result of the breaches of fiduciary duty alleged

herein, the Plan, the Plaintiff, and the other Class Members lost millions of dollars

of retirement savings.

                             PRAYER FOR RELIEF

      For these reasons, Plaintiff, on behalf of the Plan and all similarly situated

Plan participants and beneficiaries, respectfully requests that the Court:

      1.     Find and declare that the Defendant has breached its fiduciary
             duties as described above;

      2.     Find and adjudge that Defendant is personally liable to make
             good to the Plan all losses to the Plan resulting from each breach
             of fiduciary duties, and to otherwise restore the Plan to the



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               position it would have occupied but for the breaches of fiduciary
               duty;

      3.       Determine the method by which Plan losses under 29 U.S.C.
               §1109(a) should be calculated;

      4.       Order Defendant to provide all accountings necessary to
               determine the amounts Defendant must make good to the Plan
               under §1109(a);

      5.       Remove the fiduciaries who have breached their fiduciary
               duties and enjoin them from future ERISA violations;

      6.       Surcharge against Defendant and in favor of the Plan all
               amounts involved in any transactions which such accounting
               reveals were improper, excessive and/or in violation of ERISA;

      7.       Reform the Plan to include only prudent investments;

      8.       Reform the Plan to obtain bids for recordkeeping and to pay
               only reasonable recordkeeping expenses;

      9.       Certify the Class, appoint the Plaintiff as class representative,
               and appoint their counsel as Class Counsel;

      10.      Award to the Plaintiff and the Class their attorney’s fees and
               costs under 29 U.S.C. §1132(g)(1) and the common fund
               doctrine;

      11.      Order the payment of interest to the extent it is allowed by law;

and

      12.      Grant other equitable or remedial relief as the Court deems

appropriate.




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     DATED this 1st day of September, 2022.

                                   Respectfully submitted,



                                                            ________
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